          Case 24-07238          Doc 14       Filed 05/17/24 Entered 05/17/24 13:38:47                     Desc Main
                                                Document     Page 1 of 1

Form 13-1


                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISION


 In re:                                                           )            Case No. 24-07238
           Nicole L Sawyer-Warner                                 )
                                                                  )            Chapter 13
                                                                  )
 SSN: XXX-XX- 2985                                Debtors         )            Honorable David D. Cleary


                                 ORDER TO EMPLOYER TO PAY THE TRUSTEE

 To: Green Oaks
     566 W Lake St. Ste 400
     Chicago, IL 60661

          Attn: Payroll Department

 WHEREAS, the above named debtor has submitted a plan to pay his/her debts out of his/her future earnings,
 and by his/her plan submits all of his/her future earnings to the supervision and control of this Court for the
 purpose of carrying out the Plan:

                                                                            Green Oaks
 NOW IT IS THEREFORE ORDERED, that until further order of this Court,_____________________________________,
 employer of Nicole L Sawyer-Warner
             _______________________________,                                                          2000.00
                                                    deduct from the earnings of the debtor the sum of $____________
 each month beginning on the next pay day following the receipt of this order and to pay the sum so deducted to ,
 Marilyn O. Marshall, Trustee at least once a month at the following address:

                                           Marilyn O. Marshall Chapter 13 Trustee
                                                       P.O. Box 2031
                                                  Memphis, TN 38101-2031

 IT IS FURTHER ORDERED, that the employer shall stop or change the deduction upon written notice from the
 Trustee;

 IT IS FURTHER ORDERED, that the employer shall notify the Trustee if the employment of the debtor is
 terminated and the reason for such termination;

 IT IS FURTHER ORDERED, that all earnings of the debtor, except amounts required to be withheld by the
 provisions of Federal or State law or for insurance, pension or union dues, be paid to the debtor and that no
 deduction other than authorized or directed by this order be made by the employer.
                                                               FOR THE COURT



 Date                           5/17/2024
 Entered:
                                                                   Jeffrey Allsteadt, Clerk, United States Bankruptcy Court

Debtor or Attorney Signature /s/David
                              ______________________
                                      H Cutler                                                   05/16/2024
                                                                                            Date:_______________

           I agree to entry of this order without further notice or hearing.

          Check this box if the debtor has agreed to the entry of this order without further notice or hearing through Section
          I of the Chapter 13 Plan.
